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EXHIBIT A

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NYSCEF DOC. NO. l

 

RECEIVED NYSCEF: 06/09/2017

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK

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AmTrust North America, lnc., Wesco Insurance :

Company, Inc., and Technology lnsurance

Company, Inc,, Index No.
Piaintiffs, .S_IMQ_.N_S.

_against_ Plaintiffs designate New Yorl< County as the
place of trial.

KF&B, Inc. dba KF&B Prograrn Managers ,

msurance Services’ Venue rs proper pursuant to CPLR § 5 01.
Defendant.

______________________________________ X

TO THE ABOVE~NAMED DEFENDANT:

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer on Plaintiffs’ attorneys within twenty (20) days after the service of this
summons, exclusive of the day of service, or within thirty (30) days after the service is complete
if this summons is not personally delivered to you within the State of New Yorl<. In case of your

failure to appear or answer, judgment will be taken against you by default for the relief

demanded in the complaint

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Dated: New York, New Yorl<.
June 9, 20l7 KASOWITZ BENSON TORRES LLP

By: /s/ Michael J. Bowe
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(mbowe@kasowitz.com)
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Attorneysfor Plaz`nti/j”s

AmTrust North America, Inc.,

Wesco Insurance Company, Inc., and
Technology Insurance Company, Inc.

TO:

KF&B, Inc. dba

KF&B Prograrn Managers Insurance Services
425 West Broadway, Suite 408

Glendale, CA 91204

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
______________________________________ X

AmTrust North Arnerica, Inc., Wesco Insurance :
Company, Inc., and Technology Insurance

Company, Inc. 3 lndex NO.
Plaintil°f$, f Date Issued:
-against- : COMPLAINT

KF&B, Inc. dba KF&B Pro gram Managers
Insurance Services,

Defendant.
______________________________________ X

Plaintii`fs AmTrust North America, Inc., Wesco Insurance Company, Inc., and
Technology Insurance Company, Inc. (collectively “ArnTrust” or “Plaintiffs”), for its complaint
against defendant KF&B, Inc. dba KF&B Program l\/Ianagers Insurance Services (“KF&B” or
“Defendant”), allege:

PRELIMINARY STATEMENT

l. AmTrust hired KF&B to operate as the program manager for an insurance
program known as the KF&B Limousine and Taxi Program (the “Program”), KF&B was
responsible for selling AmTrust insurance policies to qualified limousine and taxi companies and
for managing aspects of the Program while it was in place.

2. In its role as program manager of the Prograrn, KF&B owed both contractual and
fiduciary duties to ArnTrust. KF&B breached those duties to the detriment of ArnTrust.

3. First, KF&B breached its underwriting obligations by selling AmTrust insurance
to unacceptably risky or otherwise inappropriate companies In order to properly manage risk
and price its insurance product, AmTrust required KF&B to follow certain “Underwriting

Guidelines” in connection with the insurance that K_F&B sold on Am'l`rust’s behalf 'KF&B

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ignored these guidelines and its fiduciary duties in an attempt to sell more insurance and
maximize its commissions Because of KF&B’s misconduct, ArnTrust will suffer losses in
excess of $20.4 million in connection with insurance policies that KF&B improperly sold as part
of the Program.

4. Second, KF&B breached its obligations to properly manage the Program. The
insurance that KF&B sold on behalf of AmTrust contained per-claim deductibles of $25,000 or
higher. KF&B’s job responsibilities included ensuring that the people it sold insurance to posted
the required collateral and paid their deductibles KF&B failed to do its job and AmTrust has
been unable to collect in excess of $3.7 million in deductibles and collateral that it is owed from
people who purchased insurance through KF&B as part of the Program. ArnTrust has also
suffered significant reputational harm based on KF&B’s mismanagement of the Program.

PARTIES

5. Plaintiff AmTrust North America, Inc. is a Delaware corporation with its
principal place of business in New York, New York.

6. Plaintiff Wesco Insurance Company is a Delaware corporation with its principal
place of business in New York, New York.

7. Plaintiff Technology Insurance Company, Inc. (“TIC”) is a Delaware corporation
with its principal place of business in New York, New York. Prior to 2017, TIC was domiciled
in New Hampshire.

8. Defendant KF&B, Inc. dba KF&B Program Managers Insurance Services is a

California corporation with its principal place of business in Glendale, California.

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JURISDICTION AND VENUE

9. Jurisdiction is proper pursuant to N.Y. General Obligations Law §§ 5-1401 and 5-
1402 because the Plaintiffs and Defendant agreed in the Managing Producer Agreement to
resolve disputes “arising under or relating to th[e] agreemen ” in a court sitting in New York,
New York. The parties also agreed that the Managing Producer Agreement “shall be interpreted
and governed by the laws of the State of New York.” Jurisdiction is also proper pursuant to
CPLR §§ 301 and 302.

l(). Venue is proper pursuant to CPLR § 501 in that, among other things, Plaintiffs
and Defendant contractually agreed to venue in this Court.

FACTUAL BACKGROUND

The Relationship Between The Parties

ll. AmTrust and KF&B are parties to a Managing Producer Agreement (the “MPA”).
A true and correct copy of the MPA, with amendments, is attached hereto as Exhibit 1.

12. The MPA was in effect from July 1, 2011 to December 31, 2015. While TIC was
not a party to the MPA at the outset, it was added as party by written amendment effective July
1 , 20 l 3 .

13. As program manager of the Program, KF&B also owed AmTrust fiduciary duties.
This fiduciary relationship was expressly acknowledged in the MPA, which stated that KF&B
“shall perform its obligations as a fiduciary of AmTrust, and shall use its best efforts to perform
all acts necessary for the proper conduct of business on behalf of AmTrust.”

14. The MPA appointed KF&B “for the purpose of marketing, soliciting,
underwriting, binding, executing, and serving on behalf of AmTrust the types and classes of

business in the states authorized in [the] Program.”

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KF&B’s Underwriting Obligations

15. Section II.B of the MPA required KF&B to “perform the functions specified in
[the] Pro gram in accordance with the highest standards of the industry and pursuant to the
standards and procedures set forth in [the] Program, including compliance with all Underwriting
Guidelines and directives issues by ArnTrust from time to time.”

16. The Underwriting Guidelines were revised from time to time and an exemplar
copy of the guidelines is attached hereto as Exhibit 2.

17. The Underwriting Guidelines make clear that KF&B was supposed to underwrite
“well run operators” or “preferred accounts.”

18. In order to ensure that accounts have been “priced to provide a successful
underwriting profit,” the Underwriting Guidelines contain a detailed list of specific requirements
and prohibitions that KF&B was required to follow.

19. The MPA further required KF&B to “maintain a sufficient staff of competent and
trained personnel to perform its duties” and to inspect new accounts and to re-inspect existing
accounts every one or two years (depending on account size) to make sure that only appropriate
risks are underwritten

20. In the MPA, KF&B specifically agreed to indemnify AmTrust for any damages
related to KF&B’s failure “to adhere to the provisions of this Agreement or the Underwriting
Guidelines when quoting, binding, underwriting or rating a Policy, whether intentional or not . . .
KF&B’s Collateral and Deductible Obligations

21. The AmTrust insurance policies that KF&B was responsible for selling contained

per-claim deductibles of $25,000 or higher. A policyholder with a 325,000 deductible is

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required to reimburse AmTrust for the first $25,000 of payments on a particular claim. This
could be a small percentage of a very large claim or 100% of a claim resolved for less than the
deductible For example, if a claim is resolved for $2,000, the policyholder would be responsible
for 100% ofthe $2,000.

22. ln order to ensure that policyholders would be able to repay AmTrust for their
deductible obligations, KF&B was responsible for ensuring that each policyholder provide
appropriate collateral for their anticipated deductible obligations

23. AmTrust required that the collateral “take the form of cash and/or [a] clean,
irrevocable Letter of Credit, drawn on a Federal Reserve member bank, containing an evergreen
renewal clause meeting AmTrust published standards” and required that the collateral be set at
certain minimum amounts, as set forth in more detail in the Underwriting Guidelines.

24. KF&B was also required to have the policyholders sign a collateral agreement

25. KF&B was also responsible for collecting deductible payments from the
policyholders as they became due.

26. The MPA incorporated by reference the AmTrust Policy Deductible Guidelines,
which KF&B promised to follow. A copy of the AmTrust Policy Deductible Guidelines is
attached hereto as Exhibit 3.

27. Pursuant to the AmTrust Policy Deducible Guidelines, KF&B was responsible for
the following deductible collection activities:

a) Contacting the policyholder to inquire about payment status Within 10 days after
receipt of the 30 day collection letter from the Claim Administrator;

b) Contacting the policyholder within 10 days after receipt of the 60 day collection letter
from the Claim Administrator to demand payment within 10 days; and

c) Referring an account with uncollected balances for 90 days to a collection service
approved by AmTrust and providing AmTrust with written documentation of the

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collection effort and written confirmation that uncollected deductibles did not result
from a failure to pursue known deductible recoveries in accordance with the
guidelines
28. The AmTrust Policy Deductible Guidelines also required KF&B to cancel and/or
non-renew any in»force policy that had past due deductibles to the extent permitted under
statutory guidelines
29. KF&B was also responsible for administering other aspects of the Program
consistent with its contractual and fiduciary obligations
30. Furthermore, even after the l\/IPA terminated on December 31, 2015 (through the
mutual agreement of the parties), KF&B was still required to “cooperate and support AmTrust in
the collection and recovery of deductible security/collateral for all policies whether in-force or
expired.”
KF&B Breached Its Contractual and Fiduciarv Obligations
31. KF&B was paid a commission for its services (as set forth in more detail in the
MPA).
32. KF&B ignored its contractual and fiduciary obligations to only sell AmTrust
insurance policies to “well run operators” and to comply with the Underwriting Guidelines
33. lnstead, in an effort to maximize its commissions, KF&B sold AmTrust insurance
policies to numerous risky limousine and taxi companies that did not conform to the AmTrust
Underwriting Guidelines
34. ln an effort to minimize its costs, KF&B also failed to perform the required and

appropriate due diligence on the limousine and taxi companies that it sold AmTrust insurance

policies to.

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35. AmTrust priced its insurance product based on the belief that KF&B was selling
its policies to “well run operators” that were in compliance with the Underwriting Guidelines In
actuality, KF&B was selling AmTrust’s insurance product to risky and non-conforming
purchasers

36. For example, KF&B sold AmTrust insurance to Gulf Coast Transportation
notwithstanding the fact that, according to the Florida Department of Financial Services, its
owner was engaged in fraud and other misconduct

37. KF&B routinely sold insurance to purchasers who did not provide appropriate
financial information or motor vehicle records

38. KF&B also failed to maintain appropriate loss control reports for the accounts it
sold.

39. KF&B additionally failed to include appropriate endorsements on the policies it
issued that would have facilitated AmTrust’s cancellation of policies in instances where insureds
did not comply with their deductible and collateral obligations

40. F or example, KF&B failed to include such an endorsement on the Bay Area
Metro account

41. AmTrust was damaged as a result of KF&B’s misconduct AmTrust anticipates
losing in excess of $20.4 million in connection with the Program.

42. ln addition to breaching its underwriting obligations, KF&B also failed to comply
with its collateral and deductible-related obligations

43. Because KF&B failed to secure appropriate collateral and because KF&B failed
to take the required steps to collect deductibles, AmTrust has been unable to collect more than

$3.7 million in deductible payments that it is owed from limousine and taxi companies that

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KF&B sold AmTrust insurance to. AmTrust anticipates that certain of these limousine and taxi
companies will be unwilling or unable to pay future deductible and collateral billings, increasing
KF&B’s damages

44. KF&B also made promises during the course of managing the Program that, on
information and belief, KF&B failed to honor. For example, KF&B agreed that it would conduct
a reevaluation of the collateral position of the policyholders it underwrote 9 months after issuing
a policy. On information and belief, KF&B did not do so for many of the accounts it
underwrote.

45. KF&B’s shoddy documentation practices allowed it to hide the full scope of its
mismanagement from AmTrust for several years.

46. Since the MPA was terminated on December 31, 2015, AmTrust has made
multiple requests for KF&B to cooperate and support AmTrust in the collection and recovery of
deductibles, as required by contract, and KF&B has failed to comply.

47. KF&B’s mismanagement of the Program has also caused ArnTrust to suffer
significant reputational damage Since AmTrust is in the insurance business and what it sells is,
in essence, a promise to pay money in certain circumstances, its reputation is of heightened
importance By damaging AmTrust’s reputation, KF&B’s misconduct damaged AmTrust above
and beyond the 320.4 million that AmTrust anticipates losing on the Program.

48. On l\/Iay 16, 2017, AmTrust wrote to KF&B requesting that KF&B agree to
indemnify AmTrust for its losses arising from the insurance policies that KF&B improperly sold
as part of the Program. KF&B did not respond, in breach of its contractual and fiduciary

obligations

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FiRsT cAUsE oF AcTioN
(Breach of Contract)

49. Plaintiffs repeat and re-allege the allegations set forth in paragraphs 1 through 48
as if fully set forth herein.

50. AmTrust and KF&B entered into the MPA, which incorporates by reference the
Underwriting Guidelines and the AmTrust Policy Deductible Guidelines The MPA constitutes a
valid and binding contract that governs the terms of the duties imposed on KF&B in acting as
program manager of the Program.

51. AmTrust fully performed its obligations under the MPA.

52. AmTrust has properly requested reimbursement from KF&B for indemnification
owed pursuant to the MPA.

53. KF&B has failed to reimburse AmTrust for amounts owed pursuant to the MPA.

54. KF&B’s conduct, including the conduct alleged herein, breached the MPA by,
inter alia, (a) failing to comply with the Underwriting Guidelines and other underwriting
requirements and prohibitions in the MPA and (b) failing to comply with the AmTrust Policy
Deductible Guidelines and other collateral and deductible~related requirements and prohibitions
in the l\/IPA.

55. KF&B also breached its contractual commitment to “cooperate and support
AmTrust in the collection and recovery of deductible security/collateral for all policies whether
in~force or expired” following the termination of the MPA.

56. As a result of KF&B’s contract breaches, AmTrust has suffered and continues to
suffer damages in an amount to be proven at trial in excess of $20.4 million.

57. AmTrust also suffered additional damages based on the harm KF&B caused to

AmTrust’s reputation

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SECOND CAUSE OF ACTION
(Breach of Fiduciary Duty)

58. Plaintiffs repeat and re-allege the allegations set forth in paragraphs 1 through 57
as if fully set forth herein.

5 9, As a result of its position as program manager for the Program, KF&B owed
fiduciary duties to AmTrust.

60. KF&B’s role as a fiduciary of AmTrust was expressly acknowledged by KF&B in
the MPA.

61. Among other duties, KF&B owed a duty to deal with AmTrust with the utmost
good faith and with absolute and undivided fidelity.

62. KF&B breached its fiduciary duties to AmTrust by putting its own interests ahead
of AmTrust in connection with the Program.

63. For example, KF&B sold AmTrust insurance to risky and otherwise inappropriate
customers in order to maximize its commissions KF&B also failed to do appropriate due
diligence into the customers it sold AmTrust insurance to.

64. As a result of KF&B ’s fiduciary duty breaches, AmTrust has suffered and
continues to suffer damages in an amount to be proven at trial in excess of $20.4 million, plus

reputational harm.

THIRD CAUSE OF ACTION
(Declaratory Judgment)

65. Plaintiffs repeat and re-allege the allegations set forth in paragraphs 1 through 64
as if fully set forth herein.
66. An actual controversy exists with respect to the parties’ rights and obligations

under the MPA and in connection with the Program generally, including but not limited to the

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obligations of KF&B to reimburse Am'l`iust for past, current, and future losses in connection
with the Program.

67. AmTrust is entitled to a declaration of its rights and KF&B’s obligations with
respect to the Program, including a declaration that KF&B is required to reimburse AmTrust for
(i) its future losses arising from the policies that KF&B sold as part of the Program and/or (ii)
deductibles and collateral that AmTrust is unable to collect from the policyholders in the
Program that KF&B sold insurance to.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff AmTrust respectfully requests that the Court enter judgment in
its favor and against KF&B as follows:

(a) A judgment that KF&B has breached the MPA;

(b) A judgment that KF&B has breached its fiduciary obligations to AmTrust;

(c) An award of money damages of at least $20.4 million, plus pre-judgment and
post-judgment interest;

(d) A declaration of Am'l`rust’s rights and KF&B’s obligations with respect to the
Program, including a declaration that KF&B is required to reimburse Am'l`rust for (i) its future
losses arising from the policies that KF&B sold as pait of the Pro gram and/or (ii) deductibles and
collateral that AmTrust is unable to collect from the policyholders in the Program that KF&B
soldinsuranceto;

(e) Reasonable costs and attorneys’ fees incurred in prosecuting this action; and

(f) Such other relief as the Court deems just and proper.

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Dated: New York, New York.
June 9, 2017 KASOWITZ BENSON TORRES LLP

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